         Case 1:21-cv-10761-AK Document 55-2 Filed 08/18/22 Page 1 of 2
                                                                  U.S. Department of Homeland Security
                                                                  Washington, DC 20528




                                                                     Homeland
Issue Date: 02/23/2018                                               Security
                                     Policy Directive 141-03

                   FOR:      Component Heads

FROM:                        Claire M. Grady {Jt. ?./?,J)J~
                             Under Secretary for Management

SUBJECT:                     Electronic Records Management Updates for Chat, Text, and
                             Instant Messaging

The Presidential and Federal Records Act Amendments of 2014 (Public Law 113-187) enacted
on November 26, 2014, expands the definition of federal records to include all recorded
information, regardless of physical form or characteristics, including information created,
manipulated, communicated, or stored in digital or electronic form.

Much like in-person or telephonic conversations, business communications created and
transmitted between Department employees that include substantive information about agency
business, policies, and activities made via chat, text, or instant message may be considered
federal records and must be preserved. DHS employees must take appropriate steps to establish
and maintain a separate record of the communication that may be considered federal records. All
DHS business transactions by electronic means are required to comply with the Department’s
records management policies. For more information about what constitutes a federal record,
please refer to Title 44, United States Code, Chapter 33, Section 3301 and the Records and
Information Management Program’s Frequently Asked Questions page and the enclosed
attachment, “Documenting Electronic Messages and Verbal Communications.”

In order to comply with federal law, applicable regulations, policy, and DHS Directive 141-01,
the Department has implemented the following electronic records management guidance for the
use of chat, text, or instant messaging:

   •   All DHS business transactions by electronic means are required to comply with the
       Department’s records management policies. DHS employees should take steps to
       establish and maintain federal records when conducting business using chat, text, or
       instant messaging.
   •   All internal DHS chat/messaging systems (i.e., Lync, Skype, or other tools) must display
       a banner/disclaimer prohibiting the system to be used to formally transact agency
       business or to document the activities of the organization.

If you have any questions, visit the DHS Records and Information Management (RIM) site or,
contact Tammy Hudson, DHS Records Officer, Office of the Chief Information Officer, phone:
571-512-1122, email: tammy.hudson@hq.dhs.gov.



                                               1
       Case 1:21-cv-10761-AK Document 55-2 Filed 08/18/22 Page 2 of 2
Attachment: Documenting Electronic Messages and Verbal Communications


What is an “electronic message”?
Electronic messages include a range of communications from text to chat to IM (instant
messages). They reside and are exchanged on agency networks and devices, on personal
devices, or they can be hosted by third-party providers.

What is a "verbal communication"?
Verbal communications include telephone conversations, voicemail messages (or series of
voicemails), a formal meeting, or even an informal chat with a coworker in the hallway.

The Department must capture and manage these records in compliance with Federal records
management laws, regulations, and policies.

What kind of verbal communications or electronic messages might be considered a record?
Any communication in which an Agency decision or commitment is made or where an action is
committed to, that is not otherwise documented, needs to be captured. For example:
   • A meeting or conference call where a decision is made, if formal meeting minutes or
      notes are not taken.
   • A text or telephone call giving guidance to a member of the regulated community.
   • A telephone call responding to a member of the public about DHS policy.

What is the best way to capture conversations that are records?
  • Write a memo to the file. Be sure to include:
          o Date and time of the communication
          o Type of communication (e.g., text, voicemail, telephone call)
          o Context of the message or conversation (electronic messages)
          o Participants
          o Subject
          o Details on any decisions or commitments (verbal communications)
          o Corresponding threads that precede a communication and provide more
              background

Does this mean that I have to write a transcript of every conversation or copy every text
message?
No, not all electronic messages or verbal communications are records. Only write a memo to the
file if one is needed to document your activities as a federal employee, contractor, and not
otherwise captured.

How can I get additional guidance?
If you have policy questions about electronic messages or verbal communication records, contact
your Component or the DHS Records Officer. You can find additional guidance in the following
publications:
    • DHS Instruction 141-01-001, “Records and Information Management”
    • Documenting Your Public Service, National Archives and Records Administration




                                              2
